                                                           Entered on Docket
                                                           December 16, 2014
                                                           EDWARD J. EMMONS, CLERK
                                                           U.S. BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF CALIFORNIA


 1   LARS T. FULLER (No. 141270)
     SAM TAHERIAN (No. 170953)
 2   THE FULLER LAW FIRM, P.C.
     60 No. Keeble Ave.
 3   San Jose, CA 95126                             The following constitutes
     Tel: (408)295-5595                             the order of the court. Signed December 16, 2014
 4
     Attorneys for Debtors
 5
                                                    ________________________________________
                                                    Stephen L. Johnson
 6                                                  U.S. Bankruptcy Judge

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 8                                      U.S. BANKRUPTCY COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                          SAN JOSE DIVISION

11   In re:                                            )    Case No.: 13-56315-SJ
                                                       )
12   CAMILO C. CALINAWAN                               )    CHAPTER 11
     ELSIDA L. CALINAWAN                               )
13                                                     )    ORDER CONFIRMING PLAN OF
                     Debtors                           )    REORGANIZATION DATED OCT 9, 2014
14                                                     )
                                                       )    Date: Dec. 4, 2014
15                                                     )    Time: 1:30 p.m.
                                                       )    Court: 3099
16                                                     )
                                                       )
17                                                     )
   ______________________________________
18        Debtors Camilo C. Calinawan and Elsida L. Calinawan’s hearing for approval and

19   confirmation of their Combined Plan of Reorganization and Disclosure Statement dated Oct. 9,

20   2014 pursuant to Chapter 11 of the United States Bankruptcy Code came on for hearing on Dec.

21   4, 2014. Lars T. Fuller appeared for Debtors. Debtors were present. John Wesolwoski appeared
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     for the Office of the United States Trustee. All other appearances were noted on the record.
23
              All objections having been resolved by stipulation, it appearing that (1) all creditors have
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     been duly noticed; (2) the Plan has been proposed in good faith and not by any means forbidden
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     by law; (3) the Plan complies with the applicable provisions of Chapter 11 of the United States




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 1   Bankruptcy Code; (4) each holder of a claim or interest has accepted the Plan or will receive not
 2
     less than such holder would receive in a Chapter 7; (5) that 100% in number and 100% in
 3
     amount of all voting claimants in at least one impaired class accepted the Plan; (6) that the
 4
     General Unsecured Class voted to Accept the Plan,
 5
            IT IS HEREBY ORDERED THAT the Plan filed by Debtors Camilo C. Calinawan and
 6
     Elsida L. Calinawan’s is hereby confirmed.
 7
            Upon completion of payments to general unsecured creditors pursuant to the terms of the
 8
     Plan, Debtors Camilo C. Calinawan and Elsida L. Calinawan’s will be discharged from all
 9

10   dischargeable debts. When entered, the discharge will

11          1.       operate as an injunction against the commencement or continuation of any action,

12   the employment of process, or any act, to collect or recover from, or offset any such debt as a

13   personal liability of the Debtors, or from property of the Debtors, whether or not discharge of
14   such debt has been waived;
15
            2.      void any judgment at any time obtained, to the extent that such judgment is a
16
     determination of the personal liability of the Debtors with respect to any debt discharged under
17
     11 U.S.C. §1141, whether or not discharge of such debt is waived; and
18
            3.   operate an in injunction against the commencement or continuation of an action, the
19
     employment of process, or any act to collect or recover from, or offset against property, property
20
     of the Debtors of the kind specified in section 541(a)(2) of the Bankruptcy Code that is acquired
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22
     after the commencement of the case, on account of any allowable community claim, except a

23   community claim that is excepted from discharge.

24          4.      A hearing on final decree shall be set on the Court’s Final Accounts calendar on

25   or before March 31, 2014.




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 1           5.         The terms of the following stipulations, copies of which are attached hereto and
 2
     incorporated herein by this reference are part of the Plan and in the event of any contradiction
 3
     between the Plan and the stipulation, the stipulation shall control.
 4
     Class        Lender                             Property                     Docket      Exh.
                                                                                  No.         No.
 5
     10           BNY Mellon                         202 E. Alisal                225         1
     11           Nationstar Mortgage, LLC           332 Boronda Salinas,         178         2
 6                                                   CA
     12           BNY Mellon                         516 Santa Maria,             207         3
 7                                                   Salinas, CA
     13           U.S. Bank as Ttee                  540 Frances, Salinas,        147         4
 8                                                   CA
     14           Nationstar Mortgage, LLC           542 Sunrise Salinas,         203         5
 9                                                   CA
     15           BNY Mellon                         546 Francis Salinas,         214         6
                                                     CA
10
     18           WFB                                713 E. market                140         7
                                                     Salinas, CA
11   19           Deutsche Bank as Ttee              715 E. Market,               177         8
                                                     Salinas, CA
12   20           Nationstar Mortgage, LLC           728 Jefferson                242         9
                                                     Salinas, CA
13   21           BNY Mellon as Tttee                781 Gee St. Salinas,         161         10
                                                     CA
14   23           Nationstar Mortgage, LLC           1150 E. Laurel,              240         11
                                                     Salinas, CA
15

16           6.         The terms of the following stipulations resolving the objections to confirmation,

17   copies of which are attached hereto and incorporated herein by this reference are part of the Plan
18   and in the event of any contradiction between the Plan and the stipulation, the stipulation shall
19
     control.
20
     Class        Lender                         Property            Docket              Exh.
21                                                                    No                 No.
     1            BNY Mellon                     18 Lunsford         282                 12
22
                                                 Salinas, CA
23
     2            BNY Mellon                     104 East Bernal     279                 13
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                                                 Salinas, CA
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 1   5      One West Bank             21449 Riverview    280              14
 2
                                      Ct. Salinas, CA
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     17     BNY Mellon                644 Towt           278              15
 4
                                      Salinas, CA
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     27     BNY Mellon                1146 E. Laurel     277              16
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                                      Salinas, CA277
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 9                                 **END OF ORDER**

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 1                                    COURT SERVICE LIST
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     No parties to be served.
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13      VKDOOFRQWLQXHLQIRUFHDQGHIIHFWDQGVKDOOEHLQFRUSRUDWHGLQWRDQ\&KDSWHU3ODQWKDWLV

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 1   JaVonne M. Phillips, Esq. SBN 187474
     Kelly M. Raftery, Esq. SBN 249195
 2   McCarthy & Holthus, LLP
 3   1770 Fourth Avenue
     San Diego, CA 92101
 4   Phone (877) 369-6122
     Fax (619) 685-4810
 5
 6   Attorneys for Secured Creditor, Bank of New York Mellon, f/k/a Bank of New York, as Trustee,
     on behalf of the registered holders of Alternative Loan Trust 2007-OA4, Mortgage Pass-Through
 7   Certificates Series 2007-OA4, its assignees and/or successors, by and through its servicing agent
 8   Select Portfolio Servicing, Inc.

 9
10
                              UNITED STATES BANKRUPTCY COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN JOSE DIVISION
13
14   In re:                                         )    Case No. 13-56315 SLJ
                                                    )
15
     Camilo C Calinawan                             )    Chapter 11
16   Elsida L. Calinawan,                           )
                                                    )
17                Debtors.                          )    STIPULATION FOR PLAN TREATMENT
18                                                  )    ON FIRST LIEN SECURED BY
                                                    )    PROPERTY AT 546 FRANCIS AVENUE,
19                                                  )    SEASIDE, CA 93955
                                                    )
20                                                  )    [no hearing]
21                                                  )
                                                    )
22                                                  )    Judge: Stephen L. Johnson
                                                    )
23
                                                    )
24                                                  )
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 1          Bank of New York Mellon, f/k/a Bank of New York, as Trustee, on behalf of the
 2   registered holders of Alternative Loan Trust 2007-OA4, Mortgage Pass-Through Certificates
 3   Series 2007-OA4, its assignees and/or successors, by and through its servicing agent Select
 4   Portfolio Servicing, Inc. (“SPS”) and Debtors, Camilo C. Calinawan and Elsida L. Calinawan
 5   (“Debtors”), by and through their attorneys of record now enter into the below stipulation to
 6   resolve and agree to plan treatment of the real property commonly known as 546 Francis
 7   Avenue, Seaside, CA 93955.
 8
 9                                             RECITALS
10      A. On or about January 18, 2007, Camilo Calinawan, for valuable consideration, made,
11          executed and delivered a Note secured by a First Deed of Trust both in the amount of
12          $546,000.00 on the property commonly known as 546 Francis Avenue, Seaside, CA
13          93955 (“Francis Property”).
14      B. On or about December 9, 2013, Debtors filed a voluntary petition under Chapter 11 of the
15          Bankruptcy Code in the United States Bankruptcy Court, Northern District of California.
16      C. As of the date of filing of said bankruptcy case, the total amount of SPS’s claim with
17          regard to the Francis Property was approximately $634,259.51.
18      D. The parties have conferred and agreed upon the value of the property and treatment of
19          SPS’s first lien secured by the Francis Property for purposes of Debtors’ Chapter 11 Plan
20          and those terms are reflected below.
21
22             THE PARTIES HERETO STIPULATE AND AGREE AS FOLLOWS:
23      1. The value of the Francis Property is $499,000.00 for the purposes of this instant Chapter

24          11 case.

25      2. The secured claim of $499,000.00 will be repaid during the remaining term of the
26          original note at a 5.25% fixed interest rate with payments calculated at a 480 month
27          amortization schedule.
28      3. The maturity date of the loan will be April 1, 2047. Any and all amounts outstanding and

29          owed as of April 1, 2047 will be due in full on the maturity date.

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 1      4. The principal and interest payment under these agreed terms is $2,489.37 per month with
 2         the first payment due on July 1, 2014.
 3      5. Payments are due monthly as per the terms of the original promissory note.
 4      6. Payments shall be made directly to SPS at Select Portfolio Servicing, Inc., PO Box
 5         65450, Salt Lake City, UT 84165-0450, with reference to the last four digits of the Loan
 6         Number 5313, or as otherwise directed.
 7      7. Debtors will continue to maintain taxes and insurance directly and outside of an escrow
 8         account on the Francis Property in accordance with the terms and requirements of the
 9         deed of trust and note. If Debtors default on maintaining taxes and/or insurance for the
10         Francis Property, SPS may pay the insurance as described in the Deed of Trust and Note
11         and impound the account to collect for all escrow advances and maintaining the escrow
12         account for future disbursements.
13      8. Debtors agree to turn over all rental proceeds collected from the Francis Property in the
14         sum of $12,900.00, collected for January 1, 2014 through June 1, 2014 in the amount of
15         $2,150, less monthly amounts for taxes and insurance upon proof of those expense
16         amounts. Debtors agree to provide these funds on or before July 1, 2014.
17      9. All other terms of the Deed of Trust and Note not directly altered by this agreement will
18         remain in full force and effect.
19      10. SPS has relief from the automatic stay as to the Francis Property upon confirmation of
20         Debtors’ Chapter 11 Plan.
21      11. SPS’s unsecured claim with regard to the Francis Property will be reduced to $0 upon
22         confirmation of Debtor’s Chapter 11 Plan in this instant bankruptcy case.
23      12. Debtors agree to incorporate the above agreed terms of lien treatment into any and all
24         existing and future proposed Chapter 11 Plans and, if any terms in Debtors’ Chapter 11
25         Plan conflict with the terms of this stipulation the terms of this stipulation will control. In
26         the event that Debtors’ Chapter 11 Plan does not reflect the language of this stipulation it
27         will be incorporated into the confirmation order through exact language, attachment of a
28         copy of the stipulation, or by reference of the filed stipulation.
29

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1                                         PROOF OF SERVICE

2

3    RE:             Camilo C. Calinawan and Elsida L. Calinawan

4    CASE NO.:       13-56315

5           I declare that I am employed in the County of Orange, State of California. I am over the

6    age of eighteen years and not a party to the within action. My business address is 2955 Main

7    Street, Second Floor, Irvine, CA 92614. On August 18, 2014 I served a STIPULATION
8    REGARDING VALUATION AND TREATMENT OF SECURED CLAIM OF NATIONSTAR
9    MORTGAGE LLC(1150 East Laurel Drive, Salinas, CA 93905) on each of the interested
10   parties by placing a true copy thereof in a sealed envelope with postage thereon fully prepaid

11   in the United States mail at Irvine, California, addressed as follows:

12
                                   SEE ATTACHED LIST MARKED AS
13                                 EXHIBIT "1" AND INCORPORATED
                                       HEREIN BY REFERENCE
14
            I declare under penalty of perjury that the foregoing is true and correct and that this
15
     declaration was executed on August 18, 2014, at Irvine, California.
16

17

18
                                               /S/ Matthew D. Levington
19                                             Matthew D. Levington

20

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1                                            EXHIBIT "1"

2            RE: Camilo C. Calinawan and Elsida L. Calinawan
       CASE NO.: 13-56315
3

4    Debtor:
     Camilo C. Calinawan
5    21449 Riverview Court
     Salinas, Ca 93908
6
     Joint Debtor:
7    Elsida L. Calinawan
     21449 Riverview Court
8    Salinas, Ca 93908

9    Debtors' Counsel:
     Lars T. Fuller
10   The Fuller Law Firm
     60 North Keeble Avenue
11   San Jose, CA 95126

12   U.S. Trustee:
     Office of the U.S. Trustee - San Jose
13   280 South First Street, Room 268
     San Jose, CA 95113
14
     Judge:
15   Honorable Stephen L. Johnson
     Attn: Chambers Copy
16   280 South First Street, Room 3035
     San Jose, CA 95113-3099
17
     Interested Party:
18   BMW Financial Services NA, LLC
     c/o Ascension Capital Group
19   P.O. Box 201347
     Arlington, TX 76006
20
     Interested Party:
21   Ocwen Loan Servicing, LLC
     Attn: Bankruptcy Dept, PO BOX 24605
22   West Palm Beach, Fl 33416-4605

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 1   Mark D. Estle, SBN 135004
     Buckley Madole, P.C.
 2   12526 High Bluff Drive, Suite 238
 3   San Diego, CA 92130
     Telephone: 858-720-0890
 4   Fax: 858-720-0092
     Mark.Estle@BuckleyMadole.com
 5
 6   Attorney for Secured Creditor

 7
 8                              UNITED STATES BANKRUPTCY COURT
 9             FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10   In re:                                                 Case No. 13-56315
11   Camilo C. Calinawan and Elsida L. Calinawan,           Chapter 11
12                                                          STIPULATION RE: CHAPTER 11 PLAN
                                                            TREATMENT
13
14                                                          Re: 104 E Bernal Drive, Salinas, CA 93906
15                                                          Confirmation Hearing:
                                                            Date: 12/4/2014
16                                                          Time: 1:30 p.m.
                                                            Place: Courtroom 3099
17                                                                 280 South First Street
                                                                   San Jose, CA 95113-3099
18
                                          Debtors.
19
20   TO THE HONORABLE STEPHEN L. JOHNSON, UNITED STATES BANKRUPTCY COURT
21   JUDGE, THE DEBTORS, DEBTORS' COUNSEL, THE U.S. TRUSTEE, AND OTHER
22   INTERESTED PARTIES:
23            THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE
24   FOR THE CERTIFICATEHOLDERS OF CWALT, INC. ALTERNATIVE LOAN TRUST 2006-
25   OA18, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-OA18 ("Secured Creditor"),
26   as serviced by Bayview Loan Servicing, LLC (“Bayview"), and Debtors Camilo C. Calinawan and Elsida
27   L. Calinawan (“Debtors”), by and through their attorneys of record, have conferred and hereby stipulate
28   as follows:

     STIPULATION RE: PLAN                               1                                          7195-N-1140
     TREATMENT                                                                                 ObjPlan_CA_V01
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 1       IT IS HEREBY STIPULATED:
 2       1. This matter affects Secured Creditor's Proof of Claim 18-1 pertaining the real property commonly
 3   known as 104 E Bernal Drive, Salinas, CA 93906 (the “Property”), in the amount of $248,603.91 (the
 4   “Secured Claim”), with pre-petition arrears in the amount of $3,355.45.
 5       2.   The Secured Claim shall be paid pursuant to the subject loan documents including the loan
 6   modification agreement date January 2, 2013 at a contractually fixed rate of interest at 3.625%. Debtors
 7   will commence monthly payments to Secured Creditor on January 1, 2015, in the amount of $1,314.71,
 8   which consists of Principal and Interest only, and thereafter on the first of each month in accordance
 9   with the terms thereunder until which time the Secured Claim has been paid in full.
10       3. In addition to the principal and interest payments described in paragraph 2 of this Stipulation,
11   Debtors shall concurrently tender to Secured Creditor an additional monthly payment for Escrow in an
12   initial amount of $262.37. The exact amount of the escrow portion of the payment going forward will
13   be dependent upon future escrow analyses to be done on the account in accordance with the terms of the
14   Note and Deed of Trust. However, if Secured Creditor so elects, Debtors shall be directly responsible
15   for payment of the property taxes and/or hazard insurance.
16       4. In addition to the regular payments described in paragraphs 2 and 3 of this Stipulation, Debtors
17   shall tender to Secured Creditor a payment in the amount of $24,334.82, which amount includes
18   $18,924.96 for the January 2014 through December 2014 monthly payments and $5,409.86 for the post-
19   petition escrow shortage, on or before the Effective Date as defined in Debtors’ Combined Plan of
20   Reorganization and Disclosure Statement Dated October 9, 2014 (the “Plan”).
21       5. Pursuant to Secured Creditor’s Proof of Claim, the current pre-petition arrears total $3,355.45
22   (the “Arrears”). The Arrears shall be payable at a 2.0% fixed interest rate. Debtors will commence
23   monthly payments to Secured Creditor on January 1, 2015, in the amount of $58.81, and thereafter on
24   the first of each month for a period of sixty (60) months.
25       6. Except as otherwise expressly provided herein, all remaining terms of the subject Note and
26   Deed of Trust shall govern the treatment of Secured Creditor’s Secured Claim.
27       7.   If Debtors fail to make any payment required under this Stipulation, or to perform any other
28

     STIPULATION RE: PLAN                                2                                           7195-N-1140
     TREATMENT                                                                                   ObjPlan_CA_V01

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           13-56315 Doc#
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 1   obligation required under the Plan for more than 10 days after the time specified, Secured Creditor may
 2   serve upon Debtors and Debtors’ Counsel a written notice of default. The Debtors are in Material Default
 3   if they fail within 30 days of the service of such notice of default either: (i) to cure the default or (ii) to
 4   obtain from the Court an extension of time to cure the default or a determination that no default occurred.
 5       8. In the event Debtors are in Material Default under the Plan then Secured Creditor (i) may file
 6   and serve a motion to dismiss the case or to convert the case to Chapter 7; or (ii) without further order
 7   of the court has relief from stay to the extent necessary, and may pursue its lawful remedies to enforce
 8   and collect Debtors’ pre-confirmation obligations.
 9       9. The acceptance by Secured Creditor of a late or partial payment shall not act as a waiver of
10   Secured Creditor’s right to proceed hereunder.
11       10. At the request of Secured Creditor, the Debtors shall execute such documents and instruments
12   as are necessary to reflect the Debtors are the borrowers of the Secured Claim, and to modify the terms
13   of the obligation to conform with the provisions of this Stipulation.
14       11. The terms of this Stipulation may not be modified, altered, or changed by the Debtors’
15   Chapter 11 Plan, any confirmation order thereon, any subsequently filed Amended Chapter 11 Plan and
16   confirmation order thereon without Secured Creditor’s express written consent. The terms of this
17   stipulation shall be incorporated into the Debtors’ Chapter 11 Plan and/or any subsequently filed
18   Amended Chapter 11 Plan. In the event of a conflict between a provision of this Stipulation and any
19   provision of Debtors’ Chapter 11 Plan or any amendments of modifications thereto, the terms of this
20   Stipulation shall control.
21           APPROVED AS TO FORM AND CONTENT:
22   Dated: 12/04/2014                                      Dated: 12/04/2014
23
       /s/ Lars Fuller ____________                           /s/ Mark D. Estle ____________
24
     Lars Fuller, Esq.                                      Mark D. Estle, Esq.
25   Attorney for Debtors                                   Attorney for Secured Creditor

26
27
28

     STIPULATION RE: PLAN                                   3                                            7195-N-1140
     TREATMENT                                                                                       ObjPlan_CA_V01

     Case:
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1     Prober & Raphael, A Law Corporation
      Dean Prober, Esquire, #106207
2     Lee S. Raphael, Esquire, #180030
3     Cassandra J. Richey, Esquire #155721
      Melissa A. Vermillion, Esquire #241354
4     Joseph Garibyan, Esquire #271833
      Bonni S. Mantovani, Esquire #106353
5     Anna Landa, Esquire #276607
      Halie L. Leonard, Esquire #265111
6
      P.O. Box 4365
7     Woodland Hills, CA 91365-4365
      (818) 227-0100
8     (818) 227-0101 facsimile
      cmartin@pralc.com
9     Attorneys for Movant
      OneWest Bank N.A. fka OneWest Bank, FSB
10
      O.027-075
11
                             UNITED STATES BANKRUPTCY COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13

14                                     SAN JOSE DIVISION

15    In Re                                           Bk. No. 13-56315-SLJ

16    Camilo C. Calinawan aka Mel Calinawan           R.S. No. LSR – 668
      dba Cali-Allen Properties
17
      and Elsida L. Calinawan                         CHAPTER 11
18    aka Elsie Calinawan,
                                                      STIPULATION RESOLVING
19               Debtors.                             CHAPTER 11 PLAN TREATMENT AND
                                                      FOR ADEQUATE PROTECTION
20

21                                                    Hearing on Plan Confirmation-
                                                      Date : 12/04/2014
22                                                    Time: 1:30 p.m.
                                                      Place U.S. Bankruptcy Court
23                                                           280 South First Street
                                                             San Jose, California
24                                                           Courtroom 3099
25
                                              /
26

27            IT IS HEREBY STIPULATED by and between Movant, OneWest Bank N.A. fka

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1
      OneWest Bank, FSB, its assignees and/or successors in interest, (“Movant” hereinafter), through
2
      its counsel, Cassandra J. Richey, Esq., of Prober & Raphael, and Debtors Camilo C. Calinawan
3
      aka Mel Calinawan, dba Cali-Allen Properties, and Elsida L. Calinawan aka Elsie Calinawan,
4
      through their counsel, Lars T. Fuller, Esq., as follows:
5
             1.      That Movant acknowledges receipt of three (3) payments of $5,901.00,
6
      representing post-petition payments from February 2014, April 2014 and June 2014.
7
             2.      The pre and post-petition delinquency of $86,108.14, which includes $853.94 in
8
      late charges, plus $1,026.00 in attorneys’ fees and costs for the filing of the Motion for Relief, for
9
      a total of $87,134.14 shall be paid over sixty (60) months upon Chapter 11 Plan confirmation.
10
      These payments shall be in addition to the ongoing monthly mortgage payment, which will be
11
      due commencing with the December 15, 2014 monthly payments.
12
             3.      Debtors shall maintain the regular monthly payments on Movant's loan obligation,
13
      encumbering the subject Property, generally described as 21449 Riverview Ct, Salinas, CA
14
      93908, in a timely fashion, commencing with the December 1, 2014 payment in the amount of
15
      $5,901.14. Payments on Movant's loan obligation shall be made to Movant OneWest Bank,
16
      FSB, Cashiering Department, 6900 Beatrice Drive, Kalamazoo, Michigan 49009.
17
             4.      Debtors shall pay off arrearages in the total amount of $87,134.14, representing
18
      pre-and post-arrears, as described above. Said arrearages shall be paid in monthly installments of
19
      $1452.23 each, commencing thirty (30) days after the entry of the Order Confirming Plan and
20
      continuing for fifty-nine (59) months on the first day of each month for fifty-nine (59) months,
21
      with the balance of $1452.57 due on the first day of the sixtieth (60th) month post-confirmation.
22
             5.      Debtors shall provide Movant with proof of insurance and maintain insurance on
23
      the subject property, with a minimum term of one (1) year, naming Movant as loss payee.
24
             6.      Debtors shall provide Movant with proof of payment of real property taxes as
25
      required.
26
             7.      In the event of a default of any provisions as set forth hereinabove, after a thirty-
27
      day notice of default mailed to Debtors and faxed (or e-mailed) and mailed to Debtors’ counsel,
28
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1
      file and serve a Declaration Re Non-Compliance and an Order Terminating the Automatic Stay.
2
      Upon the entry of such Order, the Automatic Stay with respect to subject Property shall lift
3
      immediately.
4
             8.      In the event the instant bankruptcy proceeding is dismissed or discharged, this
5
      Order shall be terminated and have no further force or effect.
6
             9.      Should Movant obtain relief from the Automatic Stay due to a breach of the terms
7
      of this Order, any final Order for Relief from the Automatic Stay shall provide for the 14-day Stay
8
      described by Bankruptcy Rule 4001(a)(3) to be waived.
9
             10.     Any funds received by Movant, which are subsequently returned for non-sufficient
10
      funds, including funds received and applied prior to the terms of this Order, shall be subject to
11
      the default provisions contained herein.
12
             11.     The terms and conditions of this Stipulation may not be modified, altered or
13
      changed in any Chapter 11 Plan of Reorganization without the express written consent of
14
      Movant.
15
             12.     In the event of an approved Loan Modification, said modification terms shall
16
      supersede this Stipulated Order for Adequate Protection.
17
             13.     The Stipulation herein is incorporated by reference into the pending Chapter 11
18
      Plan by agreement of the parties.
19
             14.     Upon the filing with the Court of the Stipulation Resolving Plan Treatment and
20
      for Adequate Protection, Movant’s Ballot is changed to Acceptance of the Plan and its Limited
21
      Objections to Debtors’ Proposed Combined Plan of Reorganization and Disclosure Statement is
22
      withdrawn.
23
             Approved as to form and content:
24

25    Dated: December 3, 2014                    PROBER & RAPHAEL, A LAW CORPORATION

26                                               By /s/ Cassandra J. Richey
                                                 CASSANDRA J. RICHEY, ESQ., SBN 155721
27                                                  Attorneys for Movant
28
                                                       3

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 1   Mark D. Estle, SBN 135004
     Buckley Madole, P.C.
 2   12526 High Bluff Drive, Suite 238
 3   San Diego, CA 92130
     Telephone: 858-720-0890
 4   Fax: 858-720-0092
     Mark.Estle@BuckleyMadole.com
 5
 6   Attorney for Secured Creditor

 7
 8                              UNITED STATES BANKRUPTCY COURT
 9             FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10   In re:                                                 Case No. 13-56315
11   Camilo C. Calinawan and Elsida L. Calinawan,           Chapter 11
12                                                          STIPULATION RE: CHAPTER 11 PLAN
                                                            TREATMENT
13
14                                                          Re: 644 Towt St, Salinas, California 93905
15                                                          Confirmation Hearing:
                                                            Date: 12/4/2014
16                                                          Time: 1:30 p.m.
                                                            Place: Courtroom 3099
17                                                                 280 South First Street
                                                                   San Jose, CA 95113-3099
18
                                          Debtors.
19
20   TO THE HONORABLE STEPHEN L. JOHNSON, UNITED STATES BANKRUPTCY COURT
21   JUDGE, THE DEBTORS, DEBTORS' COUNSEL, THE U.S. TRUSTEE, AND OTHER
22   INTERESTED PARTIES:
23            THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE
24   FOR THE CERTIFICATEHOLDERS OF THE CWALT INC. ALTERNATIVE LOAN TRUST 2006-
25   OA12 MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-OA12 ("Secured Creditor"),
26   as serviced by Bayview Loan Servicing, LLC (“Bayview"), and Debtors Camilo C. Calinawan and Elsida
27   L. Calinawan (“Debtors”), by and through their attorneys of record, have conferred and hereby stipulate
28   as follows:

     STIPULATION RE: PLAN                               1                                           7195-N-0649
     TREATMENT                                                                                  ObjPlan_CA_V01
     Case:
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 1       IT IS HEREBY STIPULATED:
 2       1. This matter affects Secured Creditor's Proof of Claim pertaining the real property commonly
 3   known as 644 Towt St, Salinas, California 93905 (the “Property”), in the amount of $531,918.75, with
 4   pre-petition arrears in the amount of $49,011.80.
 5       2. The parties hereto agree that pursuant to its election under 11 U.S.C. §1111(b), Secured
 6   Creditor shall have a fully secured claim against the Property in the amount of $531,918.75 (the “Secured
 7   Claim”).
 8       3. Pursuant to the terms of the Debtors’ Combined Plan of Reorganization and Disclosure Statement
 9   Dated October 9, 2014 (the “Plan”), the monthly payment on the Secured Claim shall be $1,477.55.
10   Debtors shall tender monthly payments to Secured Creditor commencing on January 1, 2015 and
11   continuing thereafter on the first of each month in accordance with the terms herein until which time the
12   Secured Claim has been paid in full.
13       4. In addition to the principal and interest payments described in paragraph 3 of this Stipulation,
14   Debtors shall concurrently tender to Secured Creditor an additional monthly payment for Escrow. The
15   exact amount of the escrow portion of the payment will be dependent upon future escrow analyses to be
16   done on the account in accordance with the terms of the Note and Deed of Trust. However, if Secured
17   Creditor so elects, Debtors shall be directly responsible for payment of the property taxes and/or hazard
18   insurance.
19       5. In addition to the regular payments described in paragraphs 3 and 4 of this Stipulation, Debtors
20   shall tender to Secured Creditor a payment in the amount of $4,398.10 on or before the Effective Date
21   as defined in Plan, for repayment of post-petition escrow amounts advanced by Secured Creditor.
22       6. Except as otherwise expressly provided herein, all remaining terms of the subject Note and
23   Deed of Trust shall govern the treatment of Secured Creditor’s Secured Claim.
24       7.   If Debtors fail to make any payment required under this Stipulation, or to perform any other
25   obligation required under the Plan for more than 10 days after the time specified, Secured Creditor may
26   serve upon Debtors and Debtors’ Counsel a written notice of default. The Debtors are in Material Default
27   if they fail within 30 days of the service of such notice of default either: (i) to cure the default or (ii) to
28   obtain from the Court an extension of time to cure the default or a determination that no default occurred.

     STIPULATION RE: PLAN                                   2                                            7195-N-0649
     TREATMENT                                                                                       ObjPlan_CA_V01

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 1       8. In the event Debtors are in Material Default under the Plan then Secured Creditor (i) may file
 2   and serve a motion to dismiss the case or to convert the case to Chapter 7; or (ii) without further order
 3   of the court has relief from stay to the extent necessary, and may pursue its lawful remedies to enforce
 4   and collect Debtors’ pre-confirmation obligations.
 5       9. The acceptance by Secured Creditor of a late or partial payment shall not act as a waiver of
 6   Secured Creditor’s right to proceed hereunder.
 7       10. At the request of Secured Creditor, the Debtors shall execute such documents and instruments
 8   as are necessary to reflect the Debtors are the borrowers of the Secured Claim, and to modify the terms
 9   of the obligation to conform with the provisions of this Stipulation.
10       11. The terms of this Stipulation may not be modified, altered, or changed by the Debtors’
11   Chapter 11 Plan, any confirmation order thereon, any subsequently filed Amended Chapter 11 Plan and
12   confirmation order thereon without Secured Creditor’s express written consent. The terms of this
13   stipulation shall be incorporated into the Debtors’ Chapter 11 Plan and/or any subsequently filed
14   Amended Chapter 11 Plan. In the event of a conflict between a provision of this Stipulation and any
15   provision of Debtors’ Chapter 11 Plan or any amendments of modifications thereto, the terms of this
16   Stipulation shall control.
17            APPROVED AS TO FORM AND CONTENT:
18   Dated:                                               Dated:
19
      /s/ Lars Fuller_______                               /s/ Mark D. Estle ____________
20
     Lars Fuller, Esq.                                    Mark D. Estle, Esq.
21   Attorney for Debtors                                 Attorney for Secured Creditor

22
23
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26
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     STIPULATION RE: PLAN                                 3                                         7195-N-0649
     TREATMENT                                                                                  ObjPlan_CA_V01

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                                          3
 1   Mark D. Estle, SBN 135004
     Buckley Madole, P.C.
 2   12526 High Bluff Drive, Suite 238
 3   San Diego, CA 92130
     Telephone: 858-720-0890
 4   Fax: 858-720-0092
     Mark.Estle@BuckleyMadole.com
 5
 6   Attorney for Secured Creditor

 7
 8                              UNITED STATES BANKRUPTCY COURT
 9             FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10   In re:                                                 Case No. 13-56315
11   Camilo C. Calinawan and Elsida L. Calinawan,           Chapter 11
12                                                          STIPULATION RE: CHAPTER 11 PLAN
                                                            TREATMENT
13
14                                                          Re: 1146 E. Laurel Drive, Salinas, CA 93905
15                                                          Confirmation Hearing:
                                                            Date: 12/4/2014
16                                                          Time: 1:30 p.m.
                                                            Place: Courtroom 3099
17                                                                 280 South First Street
                                                                   San Jose, CA 95113-3099
18
                                          Debtors.
19
20   TO THE HONORABLE STEPHEN L. JOHNSON, UNITED STATES BANKRUPTCY COURT
21   JUDGE, THE DEBTORS, DEBTORS' COUNSEL, THE U.S. TRUSTEE, AND OTHER
22   INTERESTED PARTIES:
23            THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE
24   FOR THE CERTIFICATEHOLDERS OF CWALT, INC. ALTERNATIVE LOAN TRUST 2006-
25   OA18, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-OA18 ("Secured Creditor"),
26   as serviced by Bayview Loan Servicing, LLC (“Bayview"), and Debtors Camilo C. Calinawan and Elsida
27   L. Calinawan (“Debtors”), by and through their attorneys of record, have conferred and hereby stipulate
28   as follows:

     STIPULATION RE: PLAN                               1                                          7195-N-0865
     TREATMENT                                                                                 ObjPlan_CA_V01
     Case:
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 1       IT IS HEREBY STIPULATED:
 2       1. This matter affects Secured Creditor's Proof of Claim pertaining the real property commonly
 3   known as 1146 E. Laurel Drive, Salinas, CA 93905 (the “Property”), in the amount of $640,036.77,
 4   with pre-petition arrears in the amount of $49,636.04.
 5       2. The parties hereto agree that pursuant to its election under 11 U.S.C. §1111(b), Secured
 6   Creditor shall have a fully secured claim against the Property in the amount of $640,036.77 (the “Secured
 7   Claim”).
 8       3. Pursuant to the terms of the Debtors’ Combined Plan of Reorganization and Disclosure Statement
 9   Dated October 9, 2014 (the “Plan”), the monthly payment on the Secured Claim shall be $1,931.46.
10   Debtors shall tender monthly payments to Secured Creditor commencing on January 1, 2015 and
11   continuing thereafter on the first of each month in accordance with the terms herein until which time the
12   Secured Claim has been paid in full.
13       4. In addition to the payments described in paragraph 3 of this Stipulation, Debtors shall
14   concurrently tender to Secured Creditor an additional monthly payment for Escrow. The exact amount
15   of the escrow portion of the payment will be dependent upon future escrow analyses to be done on the
16   account in accordance with the terms of the Note and Deed of Trust. However, if Secured Creditor so
17   elects, Debtors shall be directly responsible for payment of the property taxes and/or hazard insurance.
18       5. In addition to the regular payments described in paragraphs 3 and 4 of this Stipulation, Debtors
19   shall tender to Secured Creditor a payment in the amount of $5,408.43 on or before the Effective Date
20   as defined in Plan, for repayment of post-petition escrow amounts advanced by Secured Creditor.
21       6. Except as otherwise expressly provided herein, all remaining terms of the subject Note and
22   Deed of Trust shall govern the treatment of Secured Creditor’s Secured Claim.
23       7.   If Debtors fail to make any payment required under this Stipulation, or to perform any other
24   obligation required under the Plan for more than 10 days after the time specified, Secured Creditor may
25   serve upon Debtors and Debtors’ Counsel a written notice of default. The Debtors are in Material Default
26   if they fail within 30 days of the service of such notice of default either: (i) to cure the default or (ii) to
27   obtain from the Court an extension of time to cure the default or a determination that no default occurred.
28

     STIPULATION RE: PLAN                                   2                                            7195-N-0865
     TREATMENT                                                                                       ObjPlan_CA_V01

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           13-56315 Doc#
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 1       8. In the event Debtors are in Material Default under the Plan then Secured Creditor (i) may file
 2   and serve a motion to dismiss the case or to convert the case to Chapter 7; or (ii) without further order
 3   of the court has relief from stay to the extent necessary, and may pursue its lawful remedies to enforce
 4   and collect Debtors’ pre-confirmation obligations.
 5       9. The acceptance by Secured Creditor of a late or partial payment shall not act as a waiver of
 6   Secured Creditor’s right to proceed hereunder.
 7       10. At the request of Secured Creditor, the Debtors shall execute such documents and instruments
 8   as are necessary to reflect the Debtors are the borrowers of the Secured Claim, and to modify the terms
 9   of the obligation to conform with the provisions of this Stipulation.
10       11. The terms of this Stipulation may not be modified, altered, or changed by the Debtors’
11   Chapter 11 Plan, any confirmation order thereon, any subsequently filed Amended Chapter 11 Plan and
12   confirmation order thereon without Secured Creditor’s express written consent. The terms of this
13   stipulation shall be incorporated into the Debtors’ Chapter 11 Plan and/or any subsequently filed
14   Amended Chapter 11 Plan. In the event of a conflict between a provision of this Stipulation and any
15   provision of Debtors’ Chapter 11 Plan or any amendments of modifications thereto, the terms of this
16   Stipulation shall control.
17           APPROVED AS TO FORM AND CONTENT:
18   Dated: 12/04/2014                                    Dated: 12/04/2014
19
      /s/ Lars Fuller ____________                         /s/ Mark D. Estle    ____________
20
     Lars Fuller, Esq.                                    Mark D. Estle, Esq.
21   Attorney for Debtors                                 Attorney for Secured Creditor

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     STIPULATION RE: PLAN                                 3                                         7195-N-0865
     TREATMENT                                                                                  ObjPlan_CA_V01

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